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IN THE UNI'I`ED STATES DlSTRlCT COURT

 

159 2 7 2006
DISTRICT oF soUTH DAi<;o"rA §§
__ v CLER|':
NoRTHERN oivi'sloN

TlM AND CARLA GEFFRE oN BEHALF oF Civ. 06- riggs ¢7 ""/
SKYLBR GEFFRE, '

Piainai-ts,
V.
LEOLA sCHooL DISTRJCT 44-2, coMPl_,.AINT

Defendant.

 

 

COMES NOW Plaintiffs, Tim and Carla Geft`re on behalf of Skyler Geffre, Who file this
Com_plaint against Defendant, Leola School District, as an appeal as an aggrieved party from the
administrative proceedings styled by the Hearing Examiner as Tim and Carla Gefl`re, Parents of
S.G., a minor child, Anpe]lants, v. Leola Sehool _District, A South Dakota Sehool fDistriet,
Respondent and in support thereof state as follows:

l.
Jurisdiction and Venue

l. This is an action to review a final decision of a hearing examinet Who Woi'l<'.s in the
State of South Dakota Oftice of Hearing Exalniners for the South l)akota Deparnnent ot`Educati.on
and Cultural Affai_rs, Speeial Education Programs. A copy of the Findings of Faet, Conclusions of
LaW, Deeision and Order, dated Noveinber 17, 2006, is attached hereto and by reference made a
part hereof This Court has jurisdiction under the individuals With Disabilities Education Aet, 20

U.S.C. §1415(i)(2), (3](A) (2004), Seetion 504 ol` the Rehabilitation Act ot` 1971 29 U.S.C. §794,

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the Americans With Disabilities Act (ADA), 42 U.S.C. §12l32, as ivell as 28 U.S.C, §l_$_")'l.
Venue is before this Court pursuant to 28 U.S.C. §l?>_()l(b).
Il. Parties to the Action

2. Plaintiffs, Tiin and Carla Geffre, are parents of Skyler Geflie, an eligible “child With
a disabi_lity” under the Individ'uals With Disabilities Education improvement A-et of 2004 ([DEA),
20 U.S.C. §1400 et seq. Skyler Geffre is also an “otherwise qualified handicapped person” under
Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. §794. Sl<yle'r Geffre is a “q'uali'lied
individual With a disability” under §l2l3l of the Arnericans with Disabilities Act. Geft`res are
cnrrently, and 'Were at all times applicable to this action, residents of Lcola, South Dal<ota, which is
located Within the Leola School District in M_cPherson County, South Dakota. 'l`im and Carla
Geffre, on behalf of their son, Skyler G-effre, are parties Who had an adverse decision rendered
against them by the Hearing Examiner for the South Dakota Oftiee of Hjearing E)caminers on behalf
of the South Dal<:ota Department of Education and Cultural A:ft`airs. Pla.intii`fs, Tim and Carla
Geffre, reside in the Dist.rict of South Dal<ota.

3. Defendant, Leola School District 44~2, is a recipient of federal funds and must
comply With the [DEA, 20 U.S.C. §1400 et seq. and Section 504 ot`thc Rehabilitation Aet ol`:` `1973_,
29 U.S.C. §794. Tlie Leola School District is a “public enti_ty” under the ADr*~L and is prohibited
from discriminating against Skyler Geffre. Leola School District must also con rply with the rules
promulgated by the South Dakota Board of Education. Leola Schooi District Was the resident
school district for Sl<yler Geffre and Was responsible for developing and implementing Skyler’s
individual education program (IEP) and for providing him with a free appropriate public education
(FAPE) in the least restrictive environment during all times relevant to this action L,eola School

District is an independent school district that is situated and operates within the District of South

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Dakota. Leola School District may be served With process by serving its Superintende_nt, ivlr. .lalnie

l_-lermann, at the administrative offices of the Leola School District in Leola, South Dal<ota, during

 

regular business hours
III.
Appeal from Administrative Proceedi£g
4. This is an appeal from a Decision of the Spccial Education Hearing EXaniiner for

the State of South Dakota. The Hcaring Examiner issued her Decision on Novembcr fi?, 200(:»,
pursuant to the IDEA, 20 U.S.C. §1415(f), (h). The Hearing Examiner’s Decision is a final

judginth appealable under 20 U.S.C. §1415(i). Plaintiffs are an aggrieved party under 20 U.S.C.

 

§l4l 5(i)(2).
IV.
Issues Before the Hearing Examiner
5. Plaintiffs, Tim and Carla Gef`_l:`re, filed a “Notice of Parent’s R_equest for a Due

Process Hearing” on Au.gust l6, 2006, to address two issues, one relating to the Leola School
District’s failure to fully reimburse Gcffres for transportation expenses incurred Wlnle providing
the related service of transportation for the District, transporting Skyler to and from Dak'ota
School in Aberdeen, South Dakota, from September 20, 2005, throuin Octol)er 2()_1 2005. The
second issue dealt ivith the Leola School District’s failure to educate Slryler in the least
restrictive environment appropriate for him_. The Hearing ,E'xaminer conducted a hearing on
September 25 and October 16, 2006. fn her Decision, the Hear_ing Examiner restated the issues
to be decided as follows:
l. Wliether Parents are entitled to reimbursement for mileage to transport SG'
to Dakota School from Leola, in the amount of $409.60, together with

reimbursement for their tirne, reasonable attorney’s fees and costs and
prejudgment interest?

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The Hearing Examiner ordered the Leola School District to reimburse Gefi`res 3409.60, plus
prejudgment interest, but refused to order reimbursement sought for Geffres’ time and order
reimbursement be paid per-mile at a rate higher than the state statutory minimun':,

2. Whether Leola Public School provided a Free and Appropriate iiducation in
the least restrictive environment to SG?

The Hearing Examiner ruled that Skyler Was receiving a free appropriate public education
in the out-of-district day program at Dakota School and that he remain placed there through the end
of the 2006-07 school year or until Skyler’s Individualized Education Program (lEP) learn changes
his placement

Plaintiffs appeai from the Decision of the Hearing Exanriner.

V.
Aggrieved Partv
Cause of Action

6. Plaintiffs assert that the Decis_ion of the l-learing Examiner in this case should be
reversed on the basis that a preponderance of the evidence and applicable law do not support the
conclusion that the Leola School District provided Skyler Get"frc With a free appropriate public
education as it relates to the issue of Defendant’s refusal to transport Sl<yler to and from Dak.ota
School from September 20, 2005, through Octobe_r 26, 2005, and the Hearing Examiner’s ruling
that Plaintiffs were entitled to mileage at 32 cents per m_i_le, but not entitled to reimbursement for
their time in transporting Skyler and not entitled to a higher rate than the state statutory minimum

7. Plaintiffs further assert that the Decision of the ilearing Examiner in this case
should be reversed on the basis that a preponderance of the evidence and applicable law do not
support the conclusion that Defendant is educating Skyler Get`fre in the least restrictive

environment appropriate for him by placing him at Dalcota School, a day-program Witbin the

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residential program called Dakota flouse, which is part of Northeastcrn l\/Icnral Hea.lth Center in
Aberdeen, South Dakota.

8. Plaintiffs are further aggrieved by the Hearing Examiner’s Decision because many
of her findings conclusions and reasoning lack evidentiary support, are contrary to the record, and
are simply erroneous

9. Plaintiffs are further aggrieved by the Hearing Examiner’s decision because she
failed to base her decision on, and vvholly ignored, applicable federal laws and regulations federal
policy, case lavv, and/or state statutes and administrative rules

Vl.
10. Plaintiffs have exhausted all of their administrative remedies
VII.

ll. The Leola School District’s position is not supported by a preponderance of the

evidence, is contrary to law, and is notjustified on either the law or the facts
VIII.

12. If Plaintiffs are successful in this appeal, attorneys fees may be awarded per 20
U.S.C. §1415(i)(3)(B).

WHEREFORE, Plaintiffs respectfully pray:

l. That this Court, pursuant to 20 U.S.C. §l4l.5(i)(2)(C), receive and consider the record
of the administrative hearing, and, if determined appropriate and rcq_uested, hear
additional evidence from the parties relating to developments that have occurred since
the administrative hearing of Septernber 25 and Octoher lo. 200();

2. That this Court rule that the Hearing Examiner’s Findings of Faet, t'fonclusions of Lavv,

and Decision ordering G'effres to be limited to the State minimum mileage rate per mile

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and prejudgment interest for transportation reimbursement be reversed and that this
Court order the Leola School District to reimburse Ge_ffres for their time in transporting
Skyler to and from Dal<ota School for the _Leola School District and that their per mile
reimbursement be awarded at a higher rate than the state minimum based on the equities
of the case;

3. That this Court review the Hearing Examiner’s final Decision ruling that S_kyler Geffre
had been provided a free appropriate public education in the least restrictive
environment by the Leol_a School District under the lDEA and_, based on a
preponderance of the evidence, reverse that decision and order that Skyler’s i_EP Team
immediately meet to review his current services determine any additional services he
may require, and place him at the Leola public l-ligh School;

4. That this Court award attorneys’ fees and costs associated with the decision rendered by
the Hearing E)iaminer if Plaintiffs are prevailing party on appeal;

5. That this Court also award attorneys’ fees and costs associated with this appeal;

6. That this Court order oral argument; and

7. That this Court grant such other and further relief as it deems just and necessary

 

 
 

BY: "~~»---, » y
yes naghten " _ j
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(605) 361-2438

Attorney for Plaintiffs

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Certiiicate of Service
The undersigned hereby certifies that on the 522/gay of December, Zt,`»t)(), he sent, by first
class mail, postage prepaid, one true and correct copy of Tim and Carla Get`tres’ Summons and
Coniplaint, as well as a copy of the Notice and Ackn_owledgemcnt ot Receipt of S'urnnions and
Complaint, to:

Mr. Jarnie Hermann, Superintendent/CEO
Leola School District 44-2

820 Leola Avenue

PO Box 350

Leola, SD 57456

A copy of these documents has also been sent to Defendant’s attorney of record

Mr. Carlyle Richards
Richards & OIiver

415 S. Main Street, Suite 222
P.O. Box 114

Aberdeen, SD 57402-0114

Dated this 2 ' 2 °‘day of Decernber, 2006.

SOUTH DAKOTA ADVOCA.C`r’ S_ERVIC`ES

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Attorney for Plaintii"fs

 
  
 

 
 

